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 4 Los Angeles, CA 90064
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 6 Attorneys for Plaintiffs,
   MORRIS FLANCBAUM and
 7 SUSAN RIZZUTO
 8
                                     UNITED STATES DISTRICT COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
10
   MORRIS FLANCBAUM, an individual;                   Case No.
11 SUSAN RIZZUTO, an individual,
12                     Plaintiffs,                    COMPLAINT FOR DAMAGES
13
               V.                                     DEMAND FOR JURY TRIAL
14
   THE TYSON GROUP, INC., a
15 California corporation; and, DOES 1
   through 10, inclusive,
16
                Defendants.
17
     --------------'
18
19                                    NATURE OF THE COMPLAINT
20             1.      This is an action brought to enforce a Convertible Promissory Note ("Note")
21 between Plaintiffs MORRIS FLANCBAUM and SUSAN RIZZUTO (collectively,
22 Plaintiffs), on the one hand, and THE TYSON GROUP, INC. ("Tyson" or "Defendant"),
23 on the other hand. Defendant failed to repay substantial sums due and owing under the
24 Note, are in default, and presently owe Plaintiffs more than $650,000.
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                                              COMPLAINT
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 1                              JURISDICTION AND VENUE
 2           2.   Jurisdiction is conferred on the Court by 28 U.S.C. § 1332(a)(l) because the
 3 Parties are citizens of different states and the matter in controversy exceeds the sum or
 4 value of $75,000, exclusive of interest and costs.
 5           3.   Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because
 6 a substantial part of the events or omissions giving rise to Plaintiffs' claim occurred in El
 7 Segundo, California.
 8                                       THE PARTIES
 9           4.   At all times relevant hereto, Plaintiffs MORRIS FLANCBAUM and
10 SUSAN RIZZUTO (collectively, "Plaintiffs") were, and now are, individuals over 18
11 years of age and residents of Palm Beach County, State of Florida.
12           5.   At all times relevant hereto, Defendant THE TYSON GROUP, INC.
13 ("Defendant" or "Tyson") is and has been a corporation organized and existing under the
14 laws of the State of California. At all relevant times prior to February 7, 2022, Defendant
15 had its principal place of business at 1209 East El Segundo Boulevard, El Segundo,
16 California 90245. Plaintiffs are informed and believe and based thereon allege that as of
17 February 7, 2022, Defendant's principal place of business is 2445 Nevada Avenue N,
18 Suite 400, Golden Valley, Minnesota 55427.
19          6.    The true names and capacities of defendants sued herein as DOES 1 through
20 10, inclusive, are unknown to Plaintiffs, who therefore sue said defendants by such
21 fictitious names.    When the true names and capacities of said fictitiously named
22 defendants have been ascertained, Plaintiffs will ask leave of the Court to amend this
23 Complaint to insert in lieu of such fictitious names the true names and capacities of said
24 defendants. Plaintiffs are informed and believe and based thereon allege that DOES 1
25 through 10, and each of them, were in some manner responsible for the acts alleged
26 herein.
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                                         COMPLAINT
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 1          7.    Plaintiffs are informed and believe and based thereon allege that at all times
 2 relevant hereto, Defendants named in the caption of this Complaint, which is incorporated
 3 herein by reference, and each of them, acted individually for himself, herself, itself, or
 4 themselves, and as the agents, representatives, principals, partners, associates, joint
 5 venturers, employers, employees, alter egos, and/or conspirators of each of the remaining
 6 Defendants. Plaintiffs are further informed and believe and based thereon allege that
 7 Defendants, and each of them, were at all times acting within the course, purpose and
 8 scope of said agency, partnership, association, joint venture, employment, alter ego
 9 and/or conspiracy, and Defendants, and each of them, were acting with the authorization,
10 permissions and/or consent of the remaining Defendants
11                                FIRST CAUSE OF ACTION
12                                 BREACH OF CONTRACT
13                  (Against Defendant and DOES 1 through 10, inclusive)
14          8.    Plaintiffs hereby incorporate by reference paragraphs 1 through 7, inclusive,
15 of this Complaint as though set forth fully herein.
16          9.    On or about July 30, 2019, the Parties' entered into the Note, whereby
17 Defendant agreed to pay to Plaintiffs the principal sum of $1,000,000 no later than August
18 15, 2020. Defendant further agreed to pay interest on the unpaid balance of said sum at
19 five and one-half percent (5 ½%) per annum, due and payable on the maturity date. A
20 true and correct copy of the Note is attached hereto as Exhibit A.
21          10.   Under the terms of the Note, Plaintiffs were given the option to convert all
22 or part of the outstanding principal amount plus accrued interest into fully paid and non-
23 assessable shares of Defendant's common stock. Plaintiffs never exercised this option.
24          11.   The Note further provides that in the event Defendant failed to pay principal
25 or interest when due, the entire balance of said unpaid principal and interest then accrued
26 shall become immediately due and payable upon written demand to Defendant.
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                                          COMPLAINT
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 1         12.   Plaintiffs performed all of the conditions, covenants, and agreements on
 2 their part to be performed in accordance with the terms of the Note, including but not
 3 limited to loaning the principal sum of $1,000,000 to Defendant. Plaintiffs have further
 4 performed all conditions precedent to enforcement of the note, or any such conditions
 5 have been waived or excused.
 6         13.   On or about August 15, 2020, Defendant breached the terms of the Note by
 7 failing to pay the entire outstanding balance of the note and accrued interest due and
 8 owing as of that date.
 9         14.   On or about November 27, 2020, Defendant paid to Plaintiffs the sum of
10 $500,000, $72,178.08 of which was applied to the interest then due and owing on the
11 principal amount. Defendant thereafter made two additional payments of $2,661.17 as
12 and for a portion of the interest due and owing as of that time.
13         15.   On or about June 2, 2021, Plaintiffs declared the entire unpaid balance of
14 the Note, plus accrued interest, due and payable, and notified the Defendants of the same.
15 Plaintiffs did not, and have not, exercised their conversion rights under the Note.
16 Thereafter, on or about June 4, 2021, Defendant paid to Plaintiffs an additional sum of
17 $10,972.98.
18         16.    As of the date of this Complaint, Defendant has failed and/or refused to pay
19 the full amount due and owing to Plaintiffs. Plaintiffs are informed and believe and based
20 thereon allege that Defendant continues to refuse to make said payment(s), in breach of
21 their obligations under the Note.
22         17.   As a result of Defendants' breach of contract, Plaintiffs have been damages
23 in an amount according to proof in excess of the jurisdictional minimums of the Court.
24 Plaintiff is further entitled to a penalty equivalent to at five and one-half percent ( 5 ½%)
25 of the principal due and owing compounded monthly.
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                                          COMPLAINT
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 1                             SECOND CAUSE OF ACTION
2                              MONEY HAD AND RECEIVED
 3                 (Against Defendant and DOES 1 through 10, inclusive)
4         18.    Plaintiffs hereby incorporate by reference paragraphs 1 through 17,
 5 inclusive, of this Complaint as though set forth fully herein.
 6        19.    Within the past four years, Defendant became indebted to Plaintiffs for
 7 money had and received by Defendants from the Plaintiffs.
 8        20.    There is now due and owing to Plaintiffs from the Defendants a sum in
 9 excess of $650,000. Although demand has been made by Plaintiffs for payment of the
10 amount due from Defendant, Defendant has failed and/or refused, and continued to fail
11 and/or refuse, to pay such sums due and owing to Plaintiffs.
12        WHEREFORE, Plaintiffs respectfully prays for judgment against Defendant in
13 an amount according to proof, but in no event less than the jurisdictional minimum of the
14 Court. Plaintiff further requests and award of costs and such other and further relief as
15 the Court deems just and proper.
16
17 Dated: February 10, 2022                         DAPEER, ROSENBLIT & LITVAK, LLP
18
19
                                                    By:               Isl
20                                                        William Litvak
                                                          Eric P. Markus
21                                                        Matthew Ames
22                                                        Attorneys for Plaintiffs,
                                                          MORRIS FLANCBAUM and
23                                                        SUSAN RIZZUTO

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                       EXHIBIT A
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            THIS NOTE AND THE SHARES OF CAPITAL STOCK INTO WHICH IT IS CONVERTIBLE HAVE
            NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933 OR UNDER APPLICABLE
            STATE SECURITIES LAWS. THIS NOTE MAY NOT BE SOLD, OFFERED FOR SALE,
            TRANSFERRED OR ASSIGNED UNLESS THE TRANSACTION IS REGISTERED OR THE ISSUER
            RECEIVES AN OPINION OF COUNSEL SATISFACTORY TO IT THAT AN EXEMPTION FROM
            REGISTRATION UNDER THE SECURITIES ACT OF 1933 AND APPLICABLE STATE
            SECURITIES LAWS IS AVAILABLE.


                                                   THE TYSON GROUP, INC.

                                            CONVERTIBLE PROMISSORY NOTE

            $1,000,000                                                                          El Segundo, California
                                                                                                        July 30th
                                                                                                             ___, 2019

            1. Payment.

                             The Tyson Group, Inc., a California corporation (the “Company”), its successors and
                     assigns, for valued received, hereby promises to pay to Morris Flancbaum and Susan Rizzuto,
                     JTWROS or his, her or its registered assigns (the “Holder”) the principal sum of one million and
                     00/100 Dollars ($1,000,000.00) on August 15, 2020 (the “Maturity Date”). The Company also
                     promises to pay interest (computed on the basis of a 360-day year) from the date hereof on the
                     unpaid balance of such principal amount from time to time outstanding at the simple rate of five
                     and one-half percent (5½%) per annum. Interest shall be due and payable on the Maturity Date.

            2. Conversion.

                     (a) Into Stock. The Holder of this Note has the right, at his, her or its option, at any time before
                     the payment in full of the principal amount of this Note and all accrued but unpaid interest
                     thereon, to convert all or part of the outstanding principal amount of this Note plus interest
                     accrued to the date of conversion into fully-paid and non-assessable shares of the Company’s
                     common stock, par value $.0001 per share (“Stock”) at the per share conversion price of two
                     Dollars and fifty cents ($2.50) (the “Preferred Conversion Price”).

                     (b) Exercise of Conversion Rights. In order to exercise these conversion rights, the Holder shall
                     surrender this Note to the Company during normal business hours at the Company’s principal
                     executive office, accompanied by written notice in form satisfactory to the Company that the
                     Holder elects to convert the principal amount of this Note plus accrued interest or a portion
                     thereof specified in such notice. Such notice shall also state the name of the Holder (with the
                     address) in which the certificate or certificates for shares of Stock or Common Stock issuable on
                     such conversion shall be issued.

                     (c) Conditions Precedent to Conversion. Notwithstanding anything to the contrary in this Note,
                     the Holder may not convert any portion of this Note into shares of capital stock unless: (i) the
                     Holder is at the time of such conversion an “accredited investor” at the time of conversion, as that
                     term is defined in Rule 501(a) of Regulation D promulgated under the Securities Act of 1933, as
                     amended, and provides the Company customary representations and warranties to this effect; (ii)
                     the Holder has become a party to the Company’s Shareholder Agreement then in effect; and (iii)
                     agrees in writing to refrain from transferring of shares of capital stock of the Company during the
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                     180 day period after the Company files a registration statement with the Securities and Exchange
                     Commission.

                     (d) Fractional Shares. In the event that any portion of this Note would be converted into only a
                     fractional share of stock in connection with such conversion, then the Company may pay to the
                     Holder the amount representing such fractional share or, in the sole discretion of the Company,
                     round up the fractional share to the next whole number.

                     (e) Certain Restrictions on Conversion. Notwithstanding anything herein to the contrary, Holder
                     may not convert this Note into equity in the Company if Holder has experienced a Disqualifying
                     Event. A “Disqualifying Event” means the conviction of a felony or any other criminal offense
                     that would: disqualify Holder or the Company from obtaining a license (1) under the California
                     Medical and Adult Use Cannabis Regulation and Safety Act and the regulations promulgated
                     thereunder, or (2) similar laws of other states governing the licensure of or ownership in persons
                     involved in the cannabis industry.

            3. Surrender of Note and Delivery of Certificates. As promptly as practicable after the surrender of this
            Note for conversion in accordance with Section 1 above, the Company shall deliver or cause to be
            delivered to the Holder a certificate or certificates for the number of shares of Stock issuable upon the
            conversion of this Note, or portion thereof, in accordance with the provisions hereof. Such conversion
            shall be deemed to have been made at the time this Note shall have been surrendered for conversion and
            the notice specified above shall have been received by the Company at its principal executive office (the
            “Conversion Date”), and the Holder in whose name any certificate or certificates for shares of Stock shall
            be issuable upon such conversion shall be deemed to have become on the Conversion Date the holder of
            record of the shares represented thereby. If less than the entire outstanding principal amount of this Note
            is being converted, the Company shall promptly deliver to the Holder a new Note for the unconverted
            principal balance, which Note and shall be of like tenor as to all terms as the Note surrendered.

            4. Prepayments. The Company may prepay this Note in full upon ten (10) days’ advance written notice
            to Holder of the Company’s intent to pay the entire principal amount and all accrued interest thereon in
            full, during which time the Holder may exercise his, her or its conversion rights as set forth in this Note.

            5. Default. The entire unpaid principal of this Note and the interest then accrued on this Note shall
            become and be immediately due and payable upon written demand to the Company by the Holder of this
            Note, without any other notice or demand of any kind or any presentment or protest, if any one of the
            following events shall occur and be continuing at the time of such demand, whether voluntarily or
            involuntarily, or, without limitation, occurring or brought about by operation of law or pursuant to or in
            compliance with any judgment, decree or order of any court or any order, rule or regulation of any
            governmental body:

                     (a) the Company fails to pay principal or interest under this Note when due;

                     (b) the Company, its subsidiaries or affiliates (i) makes a composition or an assignment for the
                     benefit of creditors, (ii) applies for, consents to, or acquiesces in, a petition seeking the
                     appointment of a trustee, receiver or liquidator, in bankruptcy or otherwise, of itself or of all or a
                     substantial portion of its assets, or (iii) an order for relief shall have been entered by a bankruptcy
                     court or if a decree, order or judgment shall have been entered adjudging the Company insolvent,
                     or appointing a receiver, liquidator, custodian or trustee;




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                     (c) the Company, its subsidiaries or affiliates sells all or substantially all of its assets and does
                     not pay the outstanding principal balance of this Note and all accrued interest thereon
                     contemporaneously with the closing of such transaction; or

                     (d) the Company otherwise breaches any of its obligations hereunder (other than the payment of
                     principal or interest hereunder) and such breach continues for a period of thirty (30) days after
                     written notice thereof.

            6. Unsecured. This Note is unsecured.

            7. Waivers. The Company waives presentment, demand, protest, notice of protest, notice of presentment
            and all other notices and demands in connection with the enforcement of the rights of the Holder of this
            Note. Any failure of the Holder to exercise any right available hereunder or otherwise shall not be
            construed as a waiver of the right to exercise the same right or any other right.

            8. Transfer or Exchange. Subject to the provisions of the legend set forth at the top of the first page of
            this Note, whenever this Note shall be surrendered at the principal executive office of the Company for
            transfer or exchange, accompanied by a written instrument of transfer duly executed by the Holder hereof
            (or its duly authorized attorney in writing), the Company shall execute and deliver in exchange for this
            Note a new Note or Notes, as may be requested by such Holder, in the same aggregate unpaid principal
            amount and payable on the same date as the principal amount of the Note or Notes so surrendered; and
            each such new Note shall be in such principal amount and registered in such name or names as such
            Holder may designate in writing.

            9. Loss or Destruction of Note. Upon receipt by the Company of evidence reasonably satisfactory to it
            of the loss, theft, destruction or mutilation of this Note and of indemnity reasonably satisfactory to it, and
            upon reimbursement to the Company of all reasonable expenses incidental thereto, and upon surrender
            and cancellation of this Note (in case of mutilation), the Company will make and deliver in lieu of this
            Note a new Note of like tenor and unpaid principal amount.

            10. Successors and Assigns. This Note, and the obligations and rights of the Company hereunder, shall be
            binding upon and inure to the benefit of the Company, the Holder of this Note, and their respective
            successors and assigns.

            11. Currency. All payments shall be made in the currency of the United States of America.

            12. Notices. All notices, requests, consents and demands shall be made in writing and shall be mailed
            postage prepaid, or delivered by hand, to the Company or to the Holder at their respective addresses set
            forth below or to such other address as may be furnished in writing to the other party hereto:

                    If to the Holder:         _________________
                                              _________________
                                              _________________

                     If to the Company:       The Tyson Group, Inc.
                                              1209 E. El Segundo Blvd.
                                              El Segundo, CA 90245
                                              Email Address: rob@tysonranch.com




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            13. Governing Law. This Note shall be construed and enforced in accordance with, and the rights of the
            parties shall be governed by, the laws of the State of California, without reference to California’s choice
            of law provisions.

            14. Operating Company. The Company represents and warrants to Holder that it is an “operating
            company” within the meaning of Section 22062(b)(2) of the California Financial Code in that (A) it
            primarily engages, wholly or substantially, directly or indirectly through a majority-owned subsidiary or
            subsidiaries, in the production or sale, or the research or development, of a product or service other than
            the investment of capital, (B) it is not an individual or sole proprietorship, (C) it is not an entity with no
            specific business plan or purpose and its business plan is not to engage in a merger or acquisition with an
            unidentified company or companies or other entity or person, and (D) it intends to use the proceeds from
            the sale of the Notes solely for the operation of the Company’s business and uses other than personal,
            family, or household purposes. The Board of Directors of the Company, in the exercise of its fiduciary
            duties, has approved the sale of the Notes based upon a reasonable belief that the loans represented by the
            Notes are appropriate for the Company after reasonable inquiry concerning the Company’s financing
            objectives and financial situation.

            15. Corporate Securities Law. THIS NOTE AND THE SECURITIES INTO WHICH IT MAY
            CONVERT HAVE NOT BEEN QUALIFIED WITH THE COMMISSIONER OF CORPORATIONS OF
            THE STATE OF CALIFORNIA AND THE ISSUANCE OF SUCH SECURITIES OR THE PAYMENT
            OR RECEIPT OF ANY PART OF THE CONSIDERATION THEREFOR PRIOR TO SUCH
            QUALIFICATION IS UNLAWFUL, UNLESS THE SALE OF SECURITIES IS EXEMPT FROM
            QUALIFICATION BY SECTION 25100, 25102 OR 25105 OF THE CALIFORNIA CORPORATIONS
            CODE. THE RIGHTS OF ALL PARTIES TO THIS AGREEMENT ARE EXPRESSLY
            CONDITIONED UPON SUCH QUALIFICATION BEING OBTAINED, UNLESS THE SALE IS SO
            EXEMPT.

            16. Penalty for Overdue Payment. In addition to the payment due as set forth herein, if the Holder has
            not received payment in full on or before its due date, Company will pay the Holder a penalty of 5.5% of
            the Principal then due and owing compounded monthly until such time as the Principal and Interest have
            been paid in full.


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                     IN WITNESS WHEREOF, this Convertible Note has been executed and delivered on the date
            first above written by the duly authorized representative of the Company.



                                                                 THE TYSON GROUP, INC.


                                                                 By:

                                                                        CEO
                                                                 Its:




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